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                                          CORRECTED


          In the United States Court of Federal Claims
                                          No. 17-957C
                                    (Filed: October 2, 2020)

                                              )
  DOUG OMMEN, in his capacity as              )
  Liquidator of CoOportunity Health,          )
  Inc., and DAN WATKINS, in his               )
  capacity as Special Deputy Liquidator       )
  of CoOportunity Health, Inc.,               )
                                              )
                      Plaintiffs              )
                                              )
 v.                                           )
                                              )
 UNITED STATES,                               )
                                              )
                       Defendant.             )
                                              )

                                            ORDER


       Pursuant to the Stipulation for Entry of Judgment (ECF 52) filed by the parties on
October 2, 2020, the Clerk is directed to enter judgment for the plaintiff, Doug Ommen, in his
capacity as Liquidator of CoOpportunity Health, Inc., in the amount of $135,188,869.02, and for
the United States in the amount of $10,318,810.28.

       The judgment in favor of the United States shall be satisfied through deduction from the
amount to be paid to the plaintiff upon submission of the judgment to the Judgment Fund. The
net amount payable to the plaintiff pursuant to the judgment shall be $124,870,058.74.

      The Clerk is further directed to enter judgment dismissing the remaining Counts II-VII of
the Amended Complaint (ECF 20) with prejudice.

       The Clerk is further directed to close the case upon entry of the judgment.

       It is so ORDERED.


                                                               s/ Richard A. Hertling
                                                               Richard A. Hertling
                                                               Judge
